          Case 23-03141 Document 415 Filed in TXSB on 12/20/24 Page 1 of 1
                                                                               United States Bankruptcy Court
                                                                                   Southern District of Texas

                                                                                      ENTERED
                        IN THE UNITED STATES BANKRUPTCY COURT                     December 20, 2024
                          FOR THE SOUTHERN DISTRICT OF TEXAS                       Nathan Ochsner, Clerk
                                   HOUSTON DIVISION

 In Re:                                           §   Chapter 7
                                                  §
 HOUSTON REAL ESTATE PROPERTIES,                  §   Case No. 22-32998
 LLC,                                             §
                                                  §
          Debtor.                                 §
                                                  §
                                                  §
 JOHN QUINLAN, OMAR KHAWAJA,                      §
 AND OSAMA ABDULLATIF, et al.,                    §
                                                  §
          Plaintiffs,                             §
                                                  §   Adversary No. 23-03141
 v.                                               §
                                                  §
 HOUSTON REAL ESTATE PROPERTIES,                  §
 LLC, et al.,                                     §
                                                  §
          Defendants.
                  ORDER GRANTING CYPRESS BRIDGECO, LLC’S
             EMERGENCY MOTION TO EXPUNGE LIS PENDENS (ECF No. 414)
          Cypress BridgeCo, LLC’s Emergency Motion to Expunge Lis Pendens is GRANTED.

          IT IS THEREFORE ORDERED that the Notice of Lis Pendens recorded on June

21, 2023, as Instrument No. RP-2023-228967 in the real property records of Harris County,

Texas pertaining to the real property legally described as:

          UNIT L, LEVEL 26, OF 2727 KIRBY CONDOMINIUMS, A CONDOMINIUM
          PROJECT IN HARRIS COUNTY, TEXAS, TOGETHER WITH THE LIMITED
          COMMON ELEMENTS AND AN UNDIVIDED INTEREST IN AND TO THE
          GENERAL COMMON ELEMENTS, AS DEFINED IN THAT DECLARATION
          RECORDED IN FILM CODE NO. 205251, CONDOMINIUM RECORDS OF
          HARRIS COUNTY, TEXAS.
and commonly known as 2727 Kirby #26L, Houston, Texas 77098 is hereby

EXPUNGED pursuant to Section 12.0071 of the Texas Property Code.




                 December
                   April 04, 20,
                             20182024
